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 1   DANIEL J. BRODERICK, #89424
     Federal Defender
 2   CARO MARKS, Bar #159267
     Senior Litigator
 3   Designated Counsel for Service
     801 I Street, 3rd Floor
 4   Sacramento, California 95814
     Telephone: (916) 498-5700
 5
 6
     Attorney for Defendant
 7   BEVERLY LATTICE BARRON
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 9
                        IN THE UNITED STATES DISTRICT COURT
10
                      FOR THE EASTERN DISTRICT OF CALIFORNIA
11
12
13
     UNITED STATES OF AMERICA,       )     No. CR-S-07-236 FCD
14                                   )
                    Plaintiff,       )
15                                   )     STIPULATION AND ORDER TO CONTINUE
          v.                         )     STATUS CONFERENCE DATE
16                                   )
     BEVERLY LATTICE BARRON,         )
17                                   )     Date: September 22, 2008
                    Defendant.       )     Time: 10:00 a.m.
18                                   )     Judge: Hon. Frank C. Damrell, Jr.
     _______________________________ )
19
20        Beverly Lattice Barron, by and through her counsel, Caro Marks,
21   and the United States of America, by and through its counsel, Jason
22   Hitt, hereby agree and stipulate to continue the current status
23   conference date of August 18, 2008 to September 22, 2008 at 10:00a.m.
24   The reason for this stipulation is to allow the parties to finish
25   negotiating the final terms of the plea agreement. Once the agreement
26   is reduced to writing, defense counsel will then need time to travel to
27   the Nevada City jail, where defendant is detained, and review the plea
28   agreement with her.
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 1        The parties agree to exclude time under the Speedy Trial Act to
 2   allow the reasonable time necessary for effective preparation of
 3   counsel, taking into account the exercise of due diligence.              18 U.S.C.
 4   § 3161(h)(8)(B)(iv).       The parties stipulate and agree that the
 5   interests of justice served by granting this continuance outweigh the
 6   best interests of the public and the defendant in a speedy trial.             18
 7   U.S.C. § 3161(h)(8)(A).
 8             IT IS THEREFORE STIPULATED that the period from the signing of
 9   this Order up to and including September 22, 2008 be excluded in
10   computing the time within which trial must commence under the Speedy
11   Trial Act, pursuant to       18 U.S.C. § 3161(h)(8)(B)(iv) and Local Code
12   T4, for preparation of counsel.
13
14   Dated:    August 12, 2008
                                               Respectfully submitted,
15
                                               DANIEL J. BRODERICK
16                                             Federal Defender
17
                                               /s/ Caro Marks
18                                             ________________________________
                                               CARO MARKS
19                                             Attorney for Defendant
                                               BEVERLY LATTICE BARRON
20
                                               /s/ Jason Hitt
21                                             ________________________________
                                               Jason Hitt
22                                             Assistant United States Attorney
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     Stip and order for Barron                -2-
           Case 2:07-cr-00236-KJM Document 36 Filed 08/14/08 Page 3 of 3


 1                                        ORDER

 2        UPON GOOD CAUSE SHOWN and the stipulation of all parties, it is

 3   ordered that the August 18, 2008, status conference hearing be

 4   continued to September 22, 2008, at 10:00 a.m.        Based on the

 5   representation of defense counsel and good cause appearing there from,

 6   the Court hereby finds that the failure to grant a continuance in this

 7   case would deny defense counsel reasonable time necessary for effective

 8   preparation, taking into account the exercise of due diligence.       The

 9   Court finds that the ends of justice to be served by granting a

10   continuance outweigh the best interests of the public and the defendant

11   in a speedy trial.   It is ordered that the time up to, and including,

12   the September 22, 2008 status conference shall be excluded from

13   computation of time within which the trial of this matter must be

14   commenced under the Speedy Trial Act pursuant to 18 U.S.C. §

15   3161(h)(8)(A) and (B)(iv) and Local Codes T-4 and E, to allow defense

16   counsel reasonable time to prepare.

17   Dated: August 14, 2008

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19                                          ________________________________
                                            FRANK C. DAMRELL, JR.
20                                          United States District Judge

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     Stip and order for Barron             -3-
